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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 0:20-CV-61872-AHS
  ALAN DERSHOWITZ,

        Plaintiff,
  v.
  CABLE NEWS NETWORK, INC.,

        Defendant.
  _______________________________/

                  JOINT MOTION TO FILE MOTIONS AND EXHIBITS
                 IN SUPPORT OF OR IN RESPONSE TO MOTIONS FOR
               SUMMARY JUDGMENT / DAUBERT MOTIONS UNDER SEAL

         Plaintiff, ALAN DERSHOWITZ (“Dershowitz”) and Defendant, CABLE NEWS

  NETWORK, INC. (“CNN”), by and through their undersigned counsel, pursuant to Local Rule

  5.4(b) and Section 9B of the Court’s CM/ECF Administrative Procedures, and the Court’s

  Confidentiality and Protective Order (ECF No. 153) hereby respectfully request that the Court

  enter an Order allowing the parties to file their Motions for Summary Judgment and Daubert

  Motions as well as the related Statements of Fact (and supporting evidence), Responses and

  Replies under seal, and in support thereof, state as follows:

         1.       Pursuant to the Scheduling Order, pre-trial motions and Daubert motions are due

  on October 11, 2022 (ECF No. 202). This Court has further ordered that “each exhibit referenced

  in [a] motion for summary judgment and/or in the statement of facts must be filed on the docket…If

  a deposition transcript is referenced, a complete copy must be filed which includes all exhibits.”

  (ECF No. 34).

         2.       The Court’s Confidentiality and Protective Order provides in part that all “motion

  papers, . . . exhibits, transcripts, and other papers that consist of or contain Confidential, Highly



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  Confidential or Highly Confidential–Restricted Information shall, if filed with the Court, be filed

  under seal in . . . .” (ECF No. 153 at ¶15).

         3.      The parties’ Motions for Summary Judgment and Daubert Motions as well as the

  related Statements of Fact (and supporting evidence), Responses and Replies contain information

  designated as confidential or highly confidential under the Court’s Order.

         4.      The parties anticipate removing the Confidentiality designation on the vast majority

  of the information on which they seek to rely in the relevant papers, but some of the transcripts

  and testimony contain Confidential or Highly Confidential materials that would need to be

  redacted at filing. Given the volume of information to be filed, this is a time-consuming task.

         5.      So that the parties may timely comply with the Court’s deadlines (which it

  graciously extended), the parties request that they be permitted to file their Motions for Summary

  Judgment and Daubert Motions as well as the related Statements of Fact (and supporting evidence),

  Responses and Replies under seal. In compliance with the Court’s Order, the parties will publicly

  file redacted versions of such materials in compliance with the Court’s Order (ECF No. 34) within

  60 days of filing.

         6.      The Parties are mindful of the general policy favoring open and public viewing of

  court records as provided in Local Rule 5.4. See also Romero v. Drummond Company, Inc., 480

  F.3d 1234, 1246 (11th Cir. 2007). Notwithstanding, the public’s right of access to judicial records

  may be overcome, however, by a showing of good cause by the party seeking protection. Chicago

  Tribune Co. v. Bridgestone/Firestone, Inc., 263 F. 3d 1304, 1313 (11th Cir. 2001). Good cause

  “generally signifies a sound basis or legitimate need to take judicial action, (See In re Alexander

  Grant & Co., Litig., 820 F. 2d 352, 355 (11th Cir. 1987), and if good cause is shown, the Court

  must then balance the interest in obtaining access to the information against the interest in keeping




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  the information confidential. Chicago Tribune Co., 263 F. 3d at 1313. In balancing these interests:

  courts consider, among other factors, whether allowing access would impair court functions or

  harm legitimate privacy interests, the degree and likelihood of injury if made public, and reliability

  of the information, whether there will be an opportunity to respond to the information, whether the

  information concerns public officials or public concerns, and the availability of a less onerous

  alternative to sealing the documents.” Id. at 1246. Good cause is established, as here, by the

  moving parties when disclosure may cause a clearly defined and serious injury. NXP B.V. v.

  Research in Motion, Ltd., 2013 WL 4402833, *2 (M.D. Fla. August 15, 2013) (joint motion by the

  parties to seal documents granted because allowing public access could violate a party’s and non-

  party’s legitimate and private interests).

         7.      The Parties submit that good cause exists to file under seal their Motions for

  Summary Motions for Summary Judgment and Daubert Motions as well as the related Statements

  of Fact (and supporting evidence), Responses and Replies under seal due to such motions and

  filings containing confidential and highly confidential material.

         WHEREFORE, ALAN DERSHOWITZ & CABLE NEWS NETWORK request that the

  Court enter an order permitting the parties to file their Motions for Summary Judgment and

  Daubert Motions as well as the related Statements of Fact (and supporting evidence), Responses

  and Replies under seal as well as publicly file redacted versions of such materials in compliance

  with the Court’s Order (ECF No. 34) within 60 days of such filings, and grant any additional relief

  as is just, equitable and proper.




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  Dated: October 6, 2022

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